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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                 CRIMINAL ACTION NO. 14-10363-RGS

                     UNITED STATES OF AMERICA

                                     v.

                             GENE SVIRSKIY

                 MEMORANDUM AND ORDER ON
         DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL
                OR, ALTERNATIVELY, A NEW TRIAL

                               April 12, 2019

STEARNS, D.J.

     After a ten-week trial and six days of deliberations, a jury convicted

defendant Gene Svirskiy of racketeering under the Racketeer Influenced and

Corrupt Organizations (RICO) statute, RICO conspiracy, ten counts of mail

fraud, and two counts of introducing adulterated or misbranded drugs into

interstate commerce in violation of the federal Food, Drug, and Cosmetic Act

(FDCA). 1 The charges and subsequent convictions arose out of Svirskiy’s role

as a “Clean Room” pharmacist at the New England Compounding Center

(NECC). NECC came under intense investigative scrutiny in 2012 after three

fungal-contaminated batches of injectable methylprednisolone acetate


     1He was found not guilty on two other counts of mail fraud (Counts
32 and 47).
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(MPA) it compounded and shipped led to a widespread outbreak of fungal

meningitis. Scores of patients died and hundreds more were grievously

injured. Svirskiy was indicted together with several coworkers and the

principals of NECC, although not any charge connected to the contaminated

MPA. The court severed the cases of the two defendants charged with

murder racketeering from the cases involving lower-level employees charged

with lesser offenses. Svirskiy was tried with this latter group.

      Svirskiy has now moved post-verdict for a judgment of acquittal under

Fed. R. Crim. P. 29, or, in the alternative, for a new trial under Fed. R. Crim.

P. 33. The centerpiece of his Rule 29 argument, presented at a hearing on

March 13, 2019, is the alleged failure of the government to introduce

evidence sufficient to satisfy the required elements of mail fraud with respect

to the counts of conviction involving NECC’s employment of Scott Connolly,

a pharmacy technician who had lost his Massachusetts pharmacy license

(Counts 48-56). The Connolly counts comprised nine out of Svirskiy’s ten

counts of conviction for mail fraud and nine out of the ten predicate acts

underlying Svirskiy’s racketeering conviction.       Svirskiy also moves for

acquittal on the two FDCA counts of conviction.

      Rule 29 judgments of acquittal are granted sparingly. In deciding a

Rule 29 motion, the court is to “scrutinize the evidence in the light most


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compatible with the verdict, resolve all credibility disputes in the verdict’s

favor, and then reach a judgment about whether a rational jury could find

guilt beyond a reasonable doubt.” United States v. Olbres, 61 F.3d 967, 970

(1st Cir. 1995), quoting United States v. Taylor, 54 F.3d 967, 974 (1st Cir.

1995). “Under the viewpoint principle, a jury charged with determining an

accused’s guilt or innocence is entitled to consider the evidence as a seamless

whole. . . . ‘The sum of an evidentiary presentation may well be greater than

its constituent parts.’” Olbres, 61 F.3d at 974, quoting United States v. Ortiz,

966 F.2d 707, 711 (1st Cir. 1992).

      There are two facets to Svirskiy’s mail fraud sufficiency of the evidence

argument. The first focuses on the alleged lack of evidence establishing that

he was a knowing participant in a scheme to defraud NECC’s customers; the

second on whether any material misrepresentations were made to NECC

customers regarding the credentials of NECC’s Clean Room staff, including

Connolly. I will address each in turn.

      That Svirskiy did not directly interact with any of NECC’s customers is

not a matter of genuine dispute. The hospitals and clinics that purchased

NECC’s drugs dealt only with the sales staff at Medical Sales Management

(MSM), NECC’s marketing arm, or occasionally, with Barry Cadden, NECC’s

Chief Pharmacist. Under the law, however, “a multi-member mail fraud is


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itself treated like a conspiracy,” United States v. Yefsky, 994 F.2d 885, 893

(1st Cir. 1993), and is subject to the same rules of imputed liability that apply

in an ordinary conspiracy prosecution. Thus, the question is not whether

Svirskiy made direct misrepresentations to customers but whether he was a

knowing participant in a “scheme or artifice to defraud, or for obtaining

money or property by means of false or fraudulent pretenses,” 18 U.S.C. §

1341, and that the making of false pretenses was a reasonably foreseeable

consequence of the scheme. See United States v. Serrano, 870 F.2d 1, 6-7

(1st Cir. 1989) (“The government need not prove that the defendant devised

the fraudulent scheme; but it must prove ‘willful participation in the scheme

with knowledge of its fraudulent nature and with intent that these illicit

objectives be achieved.’”) (citation omitted).

      Here, the evidence of Svirskiy’s knowing participation in the scheme

described in the indictment, while hardly overwhelming, was enough to

satisfy the government-friendly Rule 29 standard. Scott Connolly testified

that Svirskiy knew that he had surrendered his Massachusetts pharmacy

license, and that Svirskiy had instructed him to conceal the fact that he was

working in the Clean Room by falsely certifying his lab work using Barry

Cadden’s name and initials. See Trial Tr. at 157-158 (Oct. 26, 2018). The jury

also heard that Svirskiy frequently used expired ingredients in filling


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customer orders, did not properly test drugs before they were shipped, and

that he instructed Connolly to do the same, see Trial Tr. at 27 (Oct. 29,

2018).2

     When a defendant is shown to have been a knowing participant in a

mail fraud scheme, he becomes liable for the foreseeable acts and deeds of

his coventurers, including here, the misrepresentations made by members of

the NECC sales team regarding the quality of NECC’s drugs and its professed

compliance with Massachusetts pharmacy regulations and United States

Pharmacopeia (USP) 797 standards. This is true even when he is positioned

at the outer orbit of the scheme. If the government can then prove that the

misrepresentations were material, in the sense that they could have

influenced the purchasing decisions of NECC’s customers, the conviction will

stand. Cf. United States v. Prieto, 812 F.3d 6, 13 (1st Cir. 2016) (The

government “need not prove that the decisionmaker actually relied on the

falsehood or that the falsehood led to actual damages.”).

     Ample evidence at trial established that NECC, in its promotional

materials and sales pitches, touted to customers its strict compliance with

Massachusetts law and regulations.       Kenneth Boneau, an MSM sales


     2 See, e.g., Ex. 289 (email from Svirskiy to Cadden stating “[w]e have
1.5KG (1kg containers) [of methotrexate powder] from spectrum . . . expired
in 2007”).
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representative, testified that the representation that NECC’s pharmacists

and pharmacy technicians were fully licensed was a strong selling point to

customers. Trial Tr. at 81-82 (Oct. 16, 2018). This was echoed by the

purchasing agents who testified at trial. Deborah Faint, for example, the

pharmacy buyer for Winchester Hospital in Winchester, Virginia, recalled

assurances from NECC salespersons that all of NECC’s pharmacy technicians

were “licensed or registered in the state where they are practicing.” See Trial

Tr. at 23 (Nov. 5, 2018).      Ralph McHatton, the Director of Pharmacy

Operations at North Shore Medical Center in Salem, Massachusetts, testified

that NECC’s licensing compliance was “vital” to him as a purchaser and that

he had been told that NECC’s pharmacy staff “was licensed or registered or

certified, whatever the requirements were by the state, prior to making the

product.” Trial Tr. at 17 (Nov. 8, 2018). Svirskiy’s own conduct underscored

the materiality of the licensing pretense: he would instruct Connolly to leave

the Clean Room whenever state inspectors appeared or NECC customers

visited, and instead pretend to be working as a stockman in the warehouse.

See Trial Tr. at 162 (Oct. 26, 2018).

      In an effort to impugn any causal connection between Connolly’s

unlicensed status and the purchasing decisions of NECC’s customers,

Svirskiy cites to United States v. Berroa, 856 F.3d 141 (1st Cir. 2017). In


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Berroa, the defendants had fraudulently obtained medical licenses from the

Puerto Rico Board of Medical Examiners by cheating on the qualifying

examinations. The government, estopped by Cleveland v. United States, 531

U.S. 12, 18 (2000), from arguing that the fraudulent obtaining of a license

deprived a government entity of “property” within the meaning of the mail

fraud statute, instead charged the defendants with a scheme to “depriv[e]

unsuspecting consumers of health care services, health care benefit

programs and health care providers, of property and money through the

defendant[s’] knowing[] use of [their] fraudulently obtained medical

license[s].” Berroa, 856 F.3d at 149.

      The First Circuit reversed the defendants’ convictions, reasoning that

the link between the defendants’ having fraudulently obtained their medical

licenses and their future treatment of patients was too attenuated to support

the jury’s verdict. See id. at 149-150 (“Here, the defendants’ alleged fraud in

obtaining their medical licenses cannot be said to have ‘naturally induc[ed]’

healthcare consumers to part with their money years later.”), quoting

Loughrin v. United States, 573 U.S. 351, 363 (2014). As the First Circuit

noted, Loughrin’s “naturally inducing” test “evokes the familiar concept of

proximate causation.” Berroa, 856 F.3d at 149 n.4; cf. Palsgraf v. Long

Island R.R. Co., 248 N.Y. 339 (1928) (Cardozo, C.J.).


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      The testimony of Faint and McHatton satisfies this proximate cause

standard. As I noted in ruling on a similar post-verdict motion in the Cadden

case, “[t]he jury need only have been persuaded that a reasonable purchaser

of NECC’s drugs, if told that the drugs they were being offered had been

compounded by an unlicensed technician, would have given weight to that

fact in his or her purchasing decision.” Mem. and Order on Def. Barry

Cadden’s Mot. for Acquittal, Dkt # 1135, at 11-12.

     Svirskiy raises two additional arguments. First, he notes the wide

variations among states in their licensing requirements for pharmacy

technicians, including some like New York that have no requirements at all,

and some like Massachusetts where the requirements are very strict. This

disparity, he argues, undermines any notion that licensing compliance had a

material bearing on purchasing decisions. Second, he maintains that since

Connolly always had a national certification through the Pharmacy

Technician Certification Board (PTCB), the representation that all NECC

pharmacy technicians were “certified” was, in fact, true.      Again, these

contentions are refuted by McHatton’s testimony that it would have been

important to him that all NECC technicians were “licensed or registered or

certified, whatever the requirements were by [Massachusetts], prior to

making the product.” Trial Tr. at 17 (Nov. 8, 2018). Moreover, the jury would


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have been warranted in concluding that a reasonable buyer would have been

given pause if told that NECC was employing a pharmacy technician who had

surrendered his Massachusetts license in connection with a serious

disciplinary matter, whatever his other credentials might have been. This

has even more force because NECC’s compounding operations were based

exclusively in Massachusetts. The Rule 29 motion will therefore be denied

as to the nine mail fraud counts. 3

      Svirskiy’s contentions with respect to the FDCA counts also fail. The

FDCA provides that “a drug or device shall be deemed to be adulterated”

when, inter alia, “it has been prepared, packed, or held under insanitary

conditions whereby it may have been contaminated with filth, or whereby it

may have been rendered injurious to health.” 21 U.S.C. § 351(a)(2). The jury

heard evidence that Svirskiy and others working in the Clean Room were

aware that environmental testing was returning positive results for mold and

bacteria before the outbreak, yet no meaningful remediation was undertaken


      3Svirskiy also argues that the sole, non-Scott Connolly-related mail
fraud count of conviction – the July 7, 2011 shipment of six 25 mg/ml
methotrexate injectables to the University of Southern California Hospital in
Los Angeles – must be vacated because the methotrexate tested as potent
and sterile during the relevant time period. This argument sidesteps the fact
that USP-797 flatly prohibits the use of expired ingredients in the
compounding of drugs, while NECC’s promotional materials claimed that
NECC complied with and even exceeded the USP-797 standards. That the
drugs in question may have been potent or sterile is beside the point.
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as required by USP-797 and NECC’s internal policies. No more is necessary

to sustain the jury’s verdict on the FDCA counts.

      In the alternative, Svirskiy seeks a new trial under Fed. R. Crim. P. 33.

A district court’s power to order a new trial pursuant to Rule 33 is broader

than its power to grant a motion for acquittal. United States v. Rothrock,

806 F.2d 318, 321 (1st Cir. 1986). The court may consider both the weight of

the evidence and the credibility of the witnesses in deciding a motion for a

new trial. Id. However, “[t]he remedy of a new trial is rarely used; it is

warranted ‘only where there would be a miscarriage of justice’ or ‘where the

evidence preponderates heavily against the verdict.’” United States v.

Andrade, 94 F.3d 9, 14 (1st Cir. 1996), quoting United States v. Indelicato,

611 F.2d 376, 386 (1st Cir. 1979).

      Here, that extraordinary remedy is not warranted as Svirskiy’s four

theories for a new trial are not load bearing. His principal argument is that

the court’s decision to permit the government to introduce limited evidence

of patient harm related to the fungal-contaminated MPA caused him undue

prejudice. This was a matter of extensive discussion prior to the trial and

resulted in an Order largely granting the defendants’ motion in limine on the

subject. See Dkt # 1495 (excluding evidence of patient harm except for the




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limited purpose of informing the jury why federal investigators had

descended en masse on NECC’s premises in the fall of 2012).

      Consistent with its ruling, the court explained to the jury at the outset

of the trial why and for what purpose the government would be permitted to

offer some evidence of the outbreak and the ensuing harm. Trial Tr. at 7-8

(Oct. 15, 2018). I further instructed the jury as follows:

      What I need you to keep in mind at all times is that none of these
      defendants are charged with any involvement in that batch of
      contaminated drugs, or batches as the case may be. What they
      are charged with is something entirely unrelated, in the sense
      that they [had] nothing, and are alleged to have [had] nothing, to
      do with the deaths or injuries.

Id. This instruction was repeated at various points throughout the trial. See,

e.g., Trial Tr. at 161 (Nov. 15, 2018) (“I’ve done this before, but I want to

remind you that none of the defendants here have been charged with any

involvement in the manufacture or compounding of the MPA that caused so

much damage.”). The isolated incidents that Svirskiy cites of witnesses

referring to “the outbreak” or “victims of the outbreak,” see Svirskiy Mem.,

Dkt # 1842 at 33, do not to my mind impeach the force of the court’s

cautionary instructions. While the issue was a delicate one, I am confident

that the correct balance between the jury’s right to know and the defendant’s

right not to be prejudiced by too much extraneous information was struck.



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      Svirskiy’s remaining three grounds can be summarily addressed. First,

he alleges that the court erred when it revised the FDCA component of the

proposed instructions to explain to the jury that, in determining whether

Svirskiy introduced adulterated drugs into interstate commerce with intent

to defraud or mislead, “[t]he deceit must, however, be about something

material, that is, something important that has a natural tendency to

influence or at least is capable of influencing a customer or a government

regulator.” Trial Tr. at 214 (Dec. 4, 2018) (emphasis added). The objection

is to an interpretation of the FDCA to include government entities as

potential victims. The short answer is that the case law is consistent with the

court’s interpretation. See, e.g., United States v. Arlen, 947 F.2d 139, 143

(5th Cir. 1991); United States v. Bradshaw, 840 F.2d 871, 874 (8th Cir.

1988). 4 Next, Svirskiy objects to the court’s refusal to admit evidence of the

content of anti-Semitic insults directed at him by Barry Cadden and Glenn

Chin, his supervisors and coconspirators. The court did allow substantial

evidence that Svirskiy was treated badly by Chin and was often the butt of his




      4  There was ample evidence that the scheme included an effort to
conceal NECC’s activities from the Massachusetts Board of Pharmacy
(MABOP). See Trial testimony of MABOP Samuel Penta regarding NECC’s
efforts to mislead MABOP (Nov. 15, 2018). Moreover, even were this error,
there was considerable evidence that NECC’s customers were the principal
target of the scheme to deceive.
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slurs and other insults. Beyond that, the court sees no reasonable purpose

that would have been served by exposing the jury to Chin’s anti-Semitic

rants.5   Finally, Svirskiy contends that the prosecution committed

misconduct in its closing argument by stating that “of course [the

defendants] knew that NECC was advertising itself as safe and as complying

with Massachusetts pharmacy regulations. Why? Because they had to, to

stay in operation; because that was the law that they were required to follow

as pharmacists, that NECC was required to follow.” Trial Tr. at 35 (Dec. 4,

2018). If it was error for the prosecutor to urge that a jury find a defendant

guilty of the elements of a crime charged, there would be little point to

permitting a closing argument.

                                   ORDER

      For the foregoing reasons, Svirskiy’s motion for judgment of acquittal,

or, alternatively, for a new trial is DENIED.

                                    SO ORDERED.
                                    /s/ Richard G. Stearns__________
                                    UNITED STATES DISTRICT JUDGE



      5  Svirskiy also objects to the court’s admission of testimony regarding
horseplay, pranks, and other juvenile antics engaged in by the pharmacy
technicians in the Clean Room, behavior in which Svirskiy regularly
participated. That evidence, however, was relevant to the erosion of
professional standards at NECC. The fact that it was unflattering to Svirskiy
is not a reason to exclude it.
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